AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                u Duplicate Original
                                                                                                                              Mar 28, 2023
                                           UNITED STATES DISTRICT COURT
                                                                                                                              s/ Erin Hayes
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
            (Briefly describe the property to be searched                   )
             or identify the person by name and address)
   Records and other information in its possession, pertaining to
                                                                            )      Case No.     23-m-355 (SCD)
                                                                            )        0DWWHU1R5
     the subscriber or customer associated with the account
      https://www.facebook.com/montrice.hood with user ID
                                                                            )
                100027403111409 (Target Account)                            )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of
(identify the person or describe the property to be searched and give its location):
  See Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




                                                                                          4-11-23
        YOU ARE COMMANDED to execute this warrant on or before                                         (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                      Hon. Stephen C. Dries                  .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                          .

                              3-28-23 9:30 am
Date and time issued:
                                                                                                          Judge’s signature

City and state: Milwaukee, Wisconsin                                                 Honorable Stephen C. Dries, U.S. Magistrate Judge
                                                                                                        Printed name and title
                        Case 2:23-mj-00355-SCD                      Filed 03/28/23     Page 1 of 22          Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                         Case 2:23-mj-00355-SCD                      Filed 03/28/23      Page 2 of 22          Document 1
                                  ATTACHMENT A
                                Property to Be Searched
                             MATTER NUMBER 2021R00182



       This   warrant    applies   to    information     associated   with   Facebook   account

https://www.facebook.com/montrice.hood with user ID 100027403111409 (Target

Account) that is stored at premises owned, maintained, controlled, or operated by Meta

Platforms, Inc., a company headquartered in Menlo Park, California.




       Case 2:23-mj-00355-SCD           Filed 03/28/23     Page 3 of 22      Document 1
                                     ATTACHMENT B
                                Particular Things to be Seized
                               MATTER NUMBER 2021R00182


I.     Information to be disclosed by Meta Platforms, Inc. (“Meta”)

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Meta, regardless of whether such information is located within or outside

of the United States, including any messages, records, files, logs, or information that have been

deleted but are still available to Meta, or have been preserved pursuant to a request made under

18 U.S.C. § 2703(f), Meta is required to disclose the following information to the government

for each user ID listed in Attachment A:

       (a)     The following information associated with the user ID listed in Attachment A
               for the time period of November 1, 2022, to the date of this warrant’s
               execution:
               i. All contact and personal identifying information, for Target Account,
                  including full name, user identification number, birth date, gender, contact e-
                  mail addresses, physical address (including city, state, and zip code),
                  telephone numbers, screen names, websites, and other personal identifiers.]]

               ii. All activity logs for the account and all other documents showing the user’s
                   posts and other Facebook activities November 1, 2022, to the present;

              iii. All photos and videos uploaded by that user ID and all photos and videos
                   uploaded by any user that have that user tagged in them November 1, 2022,
                   to the present, including Exchangeable Image File (“EXIF”) data and any
                   other metadata associated with those photos and videos;

              iv. All profile information; News Feed information; status updates; videos,
                  photographs, articles, and other items; Notes; Wall postings; friend lists,
                  including the friends’ Facebook user identification numbers; groups and
                  networks of which the user is a member, including the groups’ Facebook
                  group identification numbers; future and past event postings; rejected
                  “Friend” requests; comments; gifts; pokes; tags; and information about the
                  user’s access and use of Facebook applications;
               v. All records or other information regarding the devices and internet browsers
                  associated with, or used in connection with, that user ID, including the
                  hardware model, operating system version, unique device identifiers, mobile
                  network information, and user agent string;



       Case 2:23-mj-00355-SCD           Filed 03/28/23      Page 4 of 22      Document 1
             vi. All other records and contents of communications and messages made or
                 received by the user November 1, 2022, to the present, including all
                 Messenger activity, private messages, chat history, video and voice calling
                 history, and pending “Friend” requests;

            vii. All “check ins” and other location information;

            viii. All IP logs, including all records of the IP addresses that logged into the
                  account;

             ix. All records of the account’s usage of the “Like” feature, including all
                 Facebook posts and all non-Facebook webpages and content that the user has
                 “liked”;


              x. All information about the Facebook pages that the account is or was a “fan”
                 of;


             xi. All past and present lists of friends created by the account;

            xii. All records of Facebook searches performed by the account November 1,
                 2022, to the present;

            xiii. All information about the user’s access and use of Facebook Marketplace;

            xiv. The types of service utilized by the user;

             xv. The length of service (including start date) and the means and source of any
                 payments associated with the service (including any credit card or bank
                 account number);

            xvi. All privacy settings and other account settings, including privacy settings for
                 individual Facebook posts and activities, and all records showing which
                 Facebook users have been blocked by the account;

           xvii. All records pertaining to communications between Meta and any person
                 regarding the user or the user’s Facebook account, including contacts with
                 support services and records of actions taken.


       Meta is hereby ordered to disclose the above information to the government within 14

DAYS of issuance of this warrant.




       Case 2:23-mj-00355-SCD          Filed 03/28/23      Page 5 of 22       Document 1
       (b)    Information associated with each communication to and from the user ID
              listed in Attachment A for a period of 30 days from the date of this warrant,
              including:

                   i. Any dialing, routing, addressing, and signaling information associated with
                      each communication (including but not limited to account logins; posts and
                      comments on a Facebook profile or webpage; photo or video uploads;
                      direct/private messages; and Facebook chats, calls, and video calls) to or
                      from the accounts described in Attachment A, including, without
                      geographic limit: the date and time of the communication; source and
                      destination information (including account and device identifiers and login
                      and transactional IP addresses with associated port numbers); and any other
                      header or routing information.

       The Court has also issued an order pursuant to 18 U.S.C. § 3123, for such information
associated with the user ID listed in Attachment A.
       (c)    Information about the location of the user ID listed in Attachment A for a
              period of 30 days, during all times of day and night, to include all available
              GPS data, latitude-longitude data, and other precise location information.

                   i. To the extent that the information described in the previous paragraph
                      (hereinafter, “Location Information”) is within Facebook’s possession,
                      custody, or control, Facebook is required to disclose the Location
                      Information to the government. In addition, Facebook must furnish the
                      government all information, facilities, and technical assistance necessary to
                      accomplish the collection of the Location Information unobtrusively and
                      with a minimum of interference with Facebook’s services, including by
                      initiating a signal to determine the location of the user ID listed in
                      Attachment A on Facebook’s network or with such other reference points as
                      may be reasonably available, and at such intervals and times directed by the
                      government. The government shall compensate Facebook for reasonable
                      expenses incurred in furnishing such facilities or assistance.

             ii.      This warrant does not authorize the seizure of any tangible property. In
                      approving this warrant, the Court finds reasonable necessity for the seizure
                      of the Location Information. See 18 U.S.C. § 3103a(b)(2).




       Case 2:23-mj-00355-SCD             Filed 03/28/23     Page 6 of 22      Document 1
II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of Title 21, United States Code, Sections 846, 841(a)(1),

(b)(1)(A), and 841 (b)(1)(D) and Title 18, United States Code, Section 2(a), Conspiracy to

Distribute Controlled Substances, involving Montrice HOOD since November 1, 2022,

including, for each user ID identified on Attachment A, information pertaining to the following

matters:

       (a)    Evidence indicating how and when the Facebook account was accessed or used,

              to determine the chronological and geographic context of account access, use, and

              events relating to the crime under investigation and to the Facebook account

              owner;

       (b)    Evidence indicating the Facebook account owner’s state of mind as it relates to

              the crime under investigation;

       (c)    The identity of the person(s) who created or used the user ID, including records

              that help reveal the whereabouts of such person(s).




       Case 2:23-mj-00355-SCD         Filed 03/28/23      Page 7 of 22     Document 1
                                                                      Mar 28, 2023

                                                                      s/ Erin Hayes




                                                     23-m-355 (SCD)




3-28-23




     Case 2:23-mj-00355-SCD   Filed 03/28/23   Page 8 of 22   Document 1
                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT
                           MATTER NUMBER 2021R00182

       I, Kevin Smith, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for

information associated with a certain Facebook user ID that is stored at premises owned,

maintained, controlled, or operated by Meta Platforms, Inc. (“Meta”), a company headquartered

in Menlo Park, California. The information to be searched is described in the following paragraphs

and in Attachment A. This affidavit is made in support of an application for a search warrant under

18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to require Meta to disclose to the

government records and other information in its possession, pertaining to the subscriber or

customer associated with the account https://www.facebook.com/montrice.hood with user

ID 100027403111409 (Target Account).

       2.      I am a Deputy United States Marshal with the United States Marshals Service

(USMS) and, as such, am charged with enforcing all laws in all jurisdictions of the United States,

its territories and possessions. I have been a member of the United States Marshals Service since

March 2021. I have had both formal training and have participated in numerous investigations to

locate federal and state fugitives. I am an investigator or law enforcement officer of the United

States within the meaning of 18 U.S.C. § 2510(7), in that I am empowered by law to conduct

investigations of and to make arrests for federal felony offenses.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended




       Case 2:23-mj-00355-SCD           Filed 03/28/23      Page 9 of 22     Document 1
to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       4.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of Title 21, United States Code, Sections 846, 841(a)(1),

(b)(1)(A), and 841 (b)(1)(D) and Title 18, United States Code, Section 2(a), Conspiracy to

Distribute Controlled Substances, committed by Montrice D. Hood (HOOD). There is also

probable cause to search the information described in Attachment A for evidence of this crime as

described in Attachment B.

                                       PROBABLE CAUSE

       5.      The United States government, including the USMS, is investigating violations of

Title 21, United States Code, Sections 846, 841(a)(1), (b)(1)(A), and 841 (b)(1)(D) and Title 18,

United States Code, Section 2(a), Conspiracy to Distribute Controlled Substances, committed by

Montrice D. HOOD and others.

       6.      On December 6, 2022, HOOD was indictment in the Eastern District of Wisconsin

for Conspiracy to Distribute Controlled Substances in United States v. Contreras-Lantigua, et al,

case number 22-CR-261.

       7.      On December 20, 2022, the United States District Court for the Eastern District of

Wisconsin issued an arrest warrant for defendant HOOD because of the alleged violations. The

USMS has been enlisted to locate and apprehend defendant HOOD. As of today, HOOD’s

whereabouts remain unknown, and the arrest warrant remains unexecuted.

       8.      The USMS was provided with HOOD’s Facebook account name, “Loww Nu” with

url: https://www.facebook.com/montrice.hood and user ID 100027403111409 (Target Account)

by Wisconsin Department of Justice Division of Criminal Investigation (DCI). Investigators



                                                  2

       Case 2:23-mj-00355-SCD           Filed 03/28/23      Page 10 of 22       Document 1
identified the account of “Loww Nu” with url: https://www.facebook.com/montrice.hood as

HOOD’s active account. Through open search of photos of the account, HOOD posted pictures

of himself and himself with his children. The account is still active with the most recent story time-

stamped one week ago from today’s date. The USMS compared the Facebook photographs of

HOOD with Wisconsin Department of Transportation photos and determined them to be the same

person.

          9.    The USMS believes that by obtaining historical and recent content information for

HOOD’s Facebook account, it may assist investigators in determining a new location for Hood.

          10.   Based on your affiant’s training and experience in locating and apprehending

fugitives, the data being sought by this warrant will assist in locating HOOD. Because successful

apprehensions often rely on the element of surprise and on taking the fugitive by unaware, it is

often necessary to attempt an arrest during nighttime or the early morning hours, when most people

are sleeping. Further, apprehension tactical plans often change at the last minute based on

unexpected movements or other behavior of the target. Therefore, I cannot predict in advance when

this data would need to be accessed and would need access to the data at all times of the day or

night in order to ensure a safe and successful apprehension.

          11.   As of the date of this affidavit, HOOD’s whereabouts remain unknown, and the

arrest warrant in Eastern District of Wisconsin Case 22-CR-261 remains unserved as to HOOD.

TECHNCIAL BACKGROUND

          12.   Meta owns and operates Facebook, a free-access social networking website that can

be accessed at http://www.facebook.com.         Facebook users can use their accounts to share

communications, news, photographs, videos, and other information with other Facebook users,

and sometimes with the general public.


                                                  3

       Case 2:23-mj-00355-SCD           Filed 03/28/23      Page 11 of 22       Document 1
       13.     Meta asks Facebook users to provide basic contact and personal identifying

information either during the registration process or thereafter. This information may include the

user’s full name, birth date, gender, e-mail addresses, physical address (including city, state, and

zip code), telephone numbers, screen names, websites, and other personal identifiers. Each

Facebook user is assigned a user identification number and can choose a username.

       14.     Facebook users may join one or more groups or networks to connect and interact

with other users who are members of the same group or network. Facebook assigns a group

identification number to each group. A Facebook user can also connect directly with individual

Facebook users by sending each user a “Friend Request.” If the recipient of a “Friend Request”

accepts the request, then the two users will become “Friends” for purposes of Facebook and can

exchange communications or view information about each other. Each Facebook user’s account

includes a list of that user’s “Friends” and a “News Feed,” which highlights information about the

user’s “Friends,” such as profile changes, upcoming events, and birthdays.

       15.     Facebook users can select different levels of privacy for the communications and

information associated with their Facebook accounts. By adjusting these privacy settings, a

Facebook user can make information available only to himself or herself, to particular Facebook

users, or to anyone with access to the Internet, including people who are not Facebook users. A

Facebook user can also create “lists” of Facebook friends to facilitate the application of these

privacy settings. Facebook accounts also include other account settings that users can adjust to

control, for example, the types of notifications they receive from Facebook.

       16.     Facebook users can create profiles that include photographs, lists of personal

interests, and other information. Facebook users can also post “status” updates about their

whereabouts and actions, as well as links to videos, photographs, articles, and other items available



                                                 4

      Case 2:23-mj-00355-SCD            Filed 03/28/23      Page 12 of 22       Document 1
elsewhere on the Internet. Facebook users can also post information about upcoming “events,”

such as social occasions, by listing the event’s time, location, host, and guest list. In addition,

Facebook users can “check in” to particular locations or add their geographic locations to their

Facebook posts, thereby revealing their geographic locations at particular dates and times. A

particular user’s profile page also includes a “Wall,” which is a space where the user and his or

her “Friends” can post messages, attachments, and links that will typically be visible to anyone

who can view the user’s profile.

       17.     Facebook users can upload photos and videos to be posted on their Wall, included

in chats, or for other purposes. Users can “tag” other users in a photo or video and can be tagged

by others. When a user is tagged in a photo or video, he or she generally receives a notification of

the tag and a link to see the photo or video.

       18.     Facebook users can use Facebook Messenger to communicate with other users via

text, voice, video. Meta retains instant messages and certain other shared Messenger content

unless deleted by the user, and also retains transactional records related to voice and video chats.

of the date of each call. Facebook users can also post comments on the Facebook profiles of other

users or on their own profiles; such comments are typically associated with a specific posting or

item on the profile.

       19.     If a Facebook user does not want to interact with another user on Facebook, the

first user can “block” the second user from seeing his or her account.

       20.     Facebook has a “like” feature that allows users to give positive feedback or connect

to particular pages. Facebook users can “like” Facebook posts or updates, as well as webpages or

content on third-party (i.e., non-Facebook) websites. Facebook users can also become “fans” of

particular Facebook pages.



                                                 5

       Case 2:23-mj-00355-SCD           Filed 03/28/23     Page 13 of 22       Document 1
       21.     Facebook has a search function that enables its users to search Facebook for

keywords, usernames, or pages, among other things.

       22.     Each Facebook account has an activity log, which is a list of the user’s posts and

other Facebook activities from the inception of the account to the present. The activity log includes

stories and photos that the user has been tagged in, as well as connections made through the

account, such as “liking” a Facebook page or adding someone as a friend. The activity log is

visible to the user but cannot be viewed by people who visit the user’s Facebook page.

       23.     Facebook also has a Marketplace feature, which allows users to post free classified

ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.

       24.     In addition to the applications described above, Meta provides users with access to

thousands of other applications (“apps”) on the Facebook platform. When a Facebook user

accesses or uses one of these applications, an update about that the user’s access or use of that

application may appear on the user’s profile page.

       25.     Meta also retains records of which IP addresses were used by an account to log into

or out of Facebook, as well as IP address used to take certain actions on the platform. For example,

when a user uploads a photo, the user’s IP address is retained by Meta along with a timestamp.

       26.     Meta retains location information associated with Facebook users under some

circumstances, such as if a user enables “Location History,” “checks-in” to an event, or tags a post

with a location.

       27.     Social networking providers like Meta typically retain additional information about

their users’ accounts, such as information about the length of service (including start date), the

types of service utilized, and the means and source of any payments associated with the service

(including any credit card or bank account number). In some cases, Facebook users may



                                                 6

      Case 2:23-mj-00355-SCD            Filed 03/28/23      Page 14 of 22       Document 1
communicate directly with Meta about issues relating to their accounts, such as technical problems,

billing inquiries, or complaints from other users. Social networking providers like Meta typically

retain records about such communications, including records of contacts between the user and the

provider’s support services, as well as records of any actions taken by the provider or user as a

result of the communications.

       28.     As explained herein, information stored in connection with a Facebook account

may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience, a

Facebook user’s IP log, stored electronic communications, and other data retained by Meta, can

indicate who has used or controlled the Facebook account. This “user attribution” evidence is

analogous to the search for “indicia of occupancy” while executing a search warrant at a residence.

For example, profile contact information, private messaging logs, status updates, and tagged

photos (and the data associated with the foregoing, such as date and time) may be evidence of who

used or controlled the Facebook account at a relevant time. Further, Facebook account activity

can show how and when the account was accessed or used. For example, as described herein,

Meta logs the Internet Protocol (IP) addresses from which users access their accounts along with

the time and date. By determining the physical location associated with the logged IP addresses,

investigators can understand the chronological and geographic context of the account access and

use relating to the crime under investigation. Such information allows investigators to understand

the geographic and chronological context of Facebook access, use, and events relating to the crime

under investigation. Additionally, location information retained by Meta may tend to either

inculpate or exculpate the Facebook account owner. Last, Facebook account activity may provide



                                                7

      Case 2:23-mj-00355-SCD           Filed 03/28/23      Page 15 of 22      Document 1
relevant insight into the Facebook account owner’s state of mind as it relates to the offense under

investigation. For example, information on the Facebook account may indicate the owner’s motive

and intent to commit a crime (e.g., information indicating a plan to commit a crime), or

consciousness of guilt (e.g., deleting account information in an effort to conceal evidence from

law enforcement).

       29.     Therefore, the servers of Meta are likely to contain all the material described above,

including stored electronic communications and information concerning subscribers and their use

of Facebook, such as account access information, transaction information, and other account

information.

             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       30.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant to

require Meta to disclose to the government copies of the records and other information (including

the content of communications) particularly described in Section I of Attachment B. Upon receipt

of the information described in Section I of Attachment B, government-authorized persons will

review that information to locate the items described in Section II of Attachment B.

                                         CONCLUSION

       31.     Based on the foregoing, I request that the Court issue the proposed search warrant.

       32.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant. The government will execute this warrant by

serving it on Meta. Because the warrant will be served on Meta, who will then compile the

requested records at a time convenient to it, reasonable cause exists to permit the execution of the

requested warrant at any time in the day or night.



                                                 8

      Case 2:23-mj-00355-SCD           Filed 03/28/23       Page 16 of 22      Document 1
        33.     This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

        34.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.




                                                    9

       Case 2:23-mj-00355-SCD             Filed 03/28/23       Page 17 of 22        Document 1
                                   ATTACHMENT A
                                 Property to Be Searched
                              MATTER NUMBER 2021R00182



       This   warrant    applies   to    information     associated   with   Facebook    account

https://www.facebook.com/montrice.hood with user ID 100027403111409 (Target

Account) that is stored at premises owned, maintained, controlled, or operated by Meta Platforms,

Inc., a company headquartered in Menlo Park, California.




                                                2

      Case 2:23-mj-00355-SCD            Filed 03/28/23     Page 18 of 22     Document 1
                                     ATTACHMENT B
                                Particular Things to be Seized
                               MATTER NUMBER 2021R00182


I.     Information to be disclosed by Meta Platforms, Inc. (“Meta”)

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Meta, regardless of whether such information is located within or outside

of the United States, including any messages, records, files, logs, or information that have been

deleted but are still available to Meta, or have been preserved pursuant to a request made under

18 U.S.C. § 2703(f), Meta is required to disclose the following information to the government

for each user ID listed in Attachment A:

       (a)     The following information associated with the user ID listed in Attachment A
               for the time period of November 1, 2022, to the date of this warrant’s
               execution:


               i. All contact and personal identifying information, for Target Account,
                  including full name, user identification number, birth date, gender, contact e-
                  mail addresses, physical address (including city, state, and zip code),
                  telephone numbers, screen names, websites, and other personal identifiers.]]

               ii. All activity logs for the account and all other documents showing the user’s
                   posts and other Facebook activities November 1, 2022, to the present;

              iii. All photos and videos uploaded by that user ID and all photos and videos
                   uploaded by any user that have that user tagged in them November 1, 2022,
                   to the present, including Exchangeable Image File (“EXIF”) data and any
                   other metadata associated with those photos and videos;

              iv. All profile information; News Feed information; status updates; videos,
                  photographs, articles, and other items; Notes; Wall postings; friend lists,
                  including the friends’ Facebook user identification numbers; groups and
                  networks of which the user is a member, including the groups’ Facebook
                  group identification numbers; future and past event postings; rejected
                  “Friend” requests; comments; gifts; pokes; tags; and information about the
                  user’s access and use of Facebook applications;
               v. All records or other information regarding the devices and internet browsers
                  associated with, or used in connection with, that user ID, including the




      Case 2:23-mj-00355-SCD           Filed 03/28/23      Page 19 of 22      Document 1
                  hardware model, operating system version, unique device identifiers, mobile
                  network information, and user agent string;

             vi. All other records and contents of communications and messages made or
                 received by the user November 1, 2022, to the present, including all
                 Messenger activity, private messages, chat history, video and voice calling
                 history, and pending “Friend” requests;

            vii. All “check ins” and other location information;

            viii. All IP logs, including all records of the IP addresses that logged into the
                  account;

             ix. All records of the account’s usage of the “Like” feature, including all
                 Facebook posts and all non-Facebook webpages and content that the user has
                 “liked”;

              x. All information about the Facebook pages that the account is or was a “fan”
                 of;

             xi. All past and present lists of friends created by the account;

            xii. All records of Facebook searches performed by the account November 1,
                 2022, to the present;

            xiii. All information about the user’s access and use of Facebook Marketplace;

            xiv. The types of service utilized by the user;

             xv. The length of service (including start date) and the means and source of any
                 payments associated with the service (including any credit card or bank
                 account number);

            xvi. All privacy settings and other account settings, including privacy settings for
                 individual Facebook posts and activities, and all records showing which
                 Facebook users have been blocked by the account;

           xvii. All records pertaining to communications between Meta and any person
                 regarding the user or the user’s Facebook account, including contacts with
                 support services and records of actions taken.


       Meta is hereby ordered to disclose the above information to the government within 14

DAYS of issuance of this warrant.


                                                4

      Case 2:23-mj-00355-SCD           Filed 03/28/23      Page 20 of 22      Document 1
       (b)    Information associated with each communication to and from the user ID
              listed in Attachment A for a period of 30 days from the date of this warrant,
              including:

                   i. Any dialing, routing, addressing, and signaling information associated with
                      each communication (including but not limited to account logins; posts and
                      comments on a Facebook profile or webpage; photo or video uploads;
                      direct/private messages; and Facebook chats, calls, and video calls) to or
                      from the accounts described in Attachment A, including, without geographic
                      limit: the date and time of the communication; source and destination
                      information (including account and device identifiers and login and
                      transactional IP addresses with associated port numbers); and any other
                      header or routing information.

       The Court has also issued an order pursuant to 18 U.S.C. § 3123, for such information
associated with the user ID listed in Attachment A.


       (c)    Information about the location of the user ID listed in Attachment A for a
              period of 30 days, during all times of day and night, to include all available
              GPS data, latitude-longitude data, and other precise location information.

                   i. To the extent that the information described in the previous paragraph
                      (hereinafter, “Location Information”) is within Facebook’s possession,
                      custody, or control, Facebook is required to disclose the Location Information
                      to the government. In addition, Facebook must furnish the government all
                      information, facilities, and technical assistance necessary to accomplish the
                      collection of the Location Information unobtrusively and with a minimum of
                      interference with Facebook’s services, including by initiating a signal to
                      determine the location of the user ID listed in Attachment A on Facebook’s
                      network or with such other reference points as may be reasonably available,
                      and at such intervals and times directed by the government. The government
                      shall compensate Facebook for reasonable expenses incurred in furnishing
                      such facilities or assistance.

             ii.      This warrant does not authorize the seizure of any tangible property. In
                      approving this warrant, the Court finds reasonable necessity for the seizure of
                      the Location Information. See 18 U.S.C. § 3103a(b)(2).




                                                   5

      Case 2:23-mj-00355-SCD             Filed 03/28/23      Page 21 of 22       Document 1
II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of Title 21, United States Code, Sections 846, 841(a)(1), (b)(1)(A),

and 841 (b)(1)(D) and Title 18, United States Code, Section 2(a), Conspiracy to Distribute

Controlled Substances, involving Montrice HOOD since November 1, 2022, including, for each

user ID identified on Attachment A, information pertaining to the following matters:

       (a)     Evidence indicating how and when the Facebook account was accessed or used,

               to determine the chronological and geographic context of account access, use, and

               events relating to the crime under investigation and to the Facebook account

               owner;

       (b)     Evidence indicating the Facebook account owner’s state of mind as it relates to

               the crime under investigation;

       (c)     The identity of the person(s) who created or used the user ID, including records

               that help reveal the whereabouts of such person(s).




                                                 6

      Case 2:23-mj-00355-SCD           Filed 03/28/23      Page 22 of 22       Document 1
